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 1
                             IN THE UNITED STATES DISTRICT COURT
 2

 3                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 4                                    SAN JOSE DIVISION
 5

 6

 7   UNITED STATES OF AMERICA,                No. 5:22-cr-00105-BLF

 8                                            DEFENDANT’S MOTION T        TOO DISMISS THE
        Plaintiff,
 9                                            INFORMA
                                              INFORMATIONTION FOR F FAILURE
                                                                      AILURE T    TO
                                                                                   O ST
                                                                                     STAATE
                                              AN OFFENSE (F  (F.R.CR.P
                                                               .R.CR.P.. 7(C)(1),
10                    v.                      12(B)(3)(B)(V)) OR, IN THE AL ALTERNA
                                                                               TERNATIVE,
                                                                                       TIVE,
     SCOTT SHAW,                              FOR A BILL OF P   PAR
                                                                 ARTICULARS
                                                                   TICULARS (F.R.CR.P
                                                                                  (F.R.CR.P..
11
                                              7(F))
12      Defendant.
                                              Date: November 8, 2022
13                                            Time: 9:00 a.m.
14                                            Department: Courtroom 3
                                              Judge: Hon. Beth Labson Freeman
15                                            Date Action Filed: March 10, 2022
                                              Trial Date: June 16, 2023
16

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 1           DEFENDANT’S MOTION T
                                TOO DISMISS THE INFORMA
                                                  INFORMATION   TION FOR F  FAILURE
                                                                              AILURE T
                                                                                     TOO
                    ST
                    STA
                      ATE AN OFFENSE (Fed. R. Crim. P
                                                    P.. 7(c)(1), 12(b)(3)(B)(v))
 2

 3      Defendant Scott Shaw, by and through his counsel Sam J. Polverino and Jeremy D. Blank, respectfully

 4   moves this Court, pursuant to Federal Rules of Criminal Procedure 7(c)(1) and 12(b)(3)(B)(v), to dismiss

 5   Counts One through Six of the Information for failure to state an offense or, in the alternative and pursuant

 6   to Federal Rule of Criminal Procedure 7(f), to direct the government to file a bill of particulars.

 7
                                                  INTRODUCTION
 8

 9      This case is the first of its kind, but if allowed to proceed, many more will surely follow. Defendant
10   Scott Shaw was an athletic trainer at San Jose State University who is alleged to have inappropriately
11   touched four student-athletes on six separate occasions during the course of their physical therapy. For
12   what appears to be the first time, the government has brought a prosecution for such alleged conduct under
13   18 U.S.C. § 242, Deprivation of Civil Rights Under Color of Law, in a case in which the alleged victims
14   were adults; consented at the time to the acts comprising the alleged deprivation of their civil rights; were
15   under no obligation, legal or otherwise, to submit to any physical contact with the defendant; and were not
16   subject to the custody, control or influence of the defendant.
17      To be sure, the government has often successfully, and appropriately, used Section 242 to prosecute
18   police officers who have committed sexual or violent acts against victims who were in their legal or
19   physical custody. It has successfully prosecuted prison wardens and guards who have abused their
20   positions of power over their prisoners for sadistic or sexual purposes. It has successfully prosecuted
21   elected officials who have coerced sexual favors from their constituents through threats or incentives made
22   possible through their abuse of official powers and assertions of executive authority. But never to the
23   defense’s knowledge has the government charged a mere employee of a State institution, wielding neither
24   official authority nor any coercive influence whatsoever over the alleged adult victims, with violating their
25   civil rights by touching them in an allegedly inappropriate manner.
26      The novelty of this prosecution is exemplified by the fact that the position Mr. Shaw held at San Jose
27   State University, which the government alleges brought him within the ambit of acting under “color of
28



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 1   state law,” was as an athletic trainer, a position that not only (1) required him to come into physical contact

 2   with student-athletes of both genders at their request, but, more importantly, (2) also gave him no legal

 3   authority or coercive influence over the student-athletes who comprise the named victims.

 4      Because Shaw did not have, and could not have had, due process notice sufficient to apprise him that

 5   the acts alleged in the Information could have been undertaken “under color of law” and therefore

 6   constitute a violation of 18 U.S.C. § 242, this Court should grant the defendant’s motion to dismiss the

 7   Information under Federal Rule of Criminal Procedure 12(b)(3)(B)(v) for failure to state an offense.

 8   Alternatively, this Court should direct the government to file a bill of particulars.

 9
                                          BRIEF ST
                                                STA
                                                  ATEMENT OF F
                                                             FACTS
                                                              ACTS
10

11      Scott Shaw was employed as the Head Athletic Trainer at California State University-Northridge from

12   2001–2006. In 2006, he accepted a position as Associate Head Athletic Trainer for San Jose State

13   University (“SJSU”), a member of the California State University system. In 2007, he was promoted to

14   Head Athletic Trainer and Director of Sports Medicine. In that capacity, he supervised athletic trainers;

15   provided consultation and physical therapy to SJSU student-athletes; and coordinated medical services for

16   student-athletes. He retired in 2020.

17      The skeletal allegations in the Information, ECF 1, are: (a) that Shaw was employed by SJSU, a public

18   university, and by virtue of that employment was “required to act in compliance with the United States

19   Constitution,” ECF 1 ¶ 1–3; (b) that the four alleged victims were female student-athletes at SJSU, ECF 1 ¶

20   4; and (c) that on various dates, Shaw touched each victim’s breast or buttocks “without [her] consent” and

21   “while acting under color of law and [] without a legitimate purpose, thereby willfully depriving [each

22   victim] of liberty without due process of law, which includes the right to bodily integrity, a right secured

23   and protected by the Constitution and laws of the United States.” ECF 1 ¶¶ 5–10.

24                                  STA
                                    STATEMENT OF LA
                                                 LAW
                                                   W AND ARGUMENT
25             THE REQUIREMENT THA
                                 THAT
                                    T A SECTION 242 DEFENDANT ACT “UNDER
             COLOR OF LA
                      LAW”
                        W” IS UNCONSTITUTIONALL
                              UNCONSTITUTIONALLY YVVAGUE
                                                     AGUE AS APPLIED T
                                                                     TOO SHA
                                                                         SHAW
                                                                            W
26
              A. The Elements of a V
                                   Violation
                                     iolation of 18 U.S.C. § 242
27

28       Generally, to obtain a conviction under Section 242, the government must prove that: (1) the



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 1   defendant’s acts must have deprived someone of a right secured or protected by the Constitution or laws

 2   of the United States; (2) the defendant’s illegal acts must have been committed under color of law; (3) the

 3   person deprived of his or her rights must have been an inhabitant of a state, territory or district; and (4) the

 4   defendant must have acted willfully. See United States v. Senak, 477 F.2d 304, 306 (7th Cir. 1973) (citing

 5   United States v. Jackson, 235 F.2d 925, 927 (8th Cir. 1956)); Gomes v. City of Los Angeles, 2018 WL

 6   4945691, at *2 (C.D. Cal. Oct. 10, 2018).

 7
              B. Due Pr
                     Process
                        ocess Requir
                              Requires
                                     es Fair Notice
 8

 9      The Fifth Amendment’s Due Process Clause forbids enforcement of a criminal statute that “fails to

10   provide a person of ordinary intelligence fair notice of what is prohibited, or is so standardless that it

11   authorizes or encourages seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285,

12   304 (2008). “To make the warning fair, so far as possible the line” demarcating criminal conduct “should

13   be clear.” United States v. Bass, 404 U.S. 336, 348 (1971) (quoting McBoyle v. United States, 283 U.S. 25,

14   27 (1931)).

15      Typically, the constitutionally required fair notice is derived from the criminal statute itself. See F.C.C.

16   v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (“A conviction or punishment fails to comply

17   with due process if the statute or regulation under which it is obtained ‘fails to provide a person of

18   ordinary intelligence fair notice of what is prohibited’” (quoting Williams, 553 U.S. at 304)); Rabe v.

19   Washington, 405 U.S. 313, 315 (1972) (per curiam) (“To avoid the constitutional vice of vagueness, it is

20   necessary, at a minimum, that a statute give fair notice that certain conduct is proscribed”). Noting this

21   principle in a prosecution under Section 242, the Supreme Court held, “[A]lthough clarity at the requisite

22   level may be supplied by judicial gloss on an otherwise uncertain statute [citations], due process bars

23   courts from applying a novel construction of a criminal statute to conduct that neither the statute nor any

24   prior judicial decision has fairly disclosed to be within its scope [citations].” United States v. Lanier, 520

25   U.S. 259, 266 (1997).

26      “[A] fair warning should be given to the world in language that the common world will understand, of

27   what the law intends to do if a certain line is passed.” McBoyle, 283 U.S. at 27; see also United States v.

28   Aguilar, 515 U.S. 593, 600 (1995) (courts “have traditionally exercised restraint in assessing the reach of a



                                                            3
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 1   federal criminal statute . . . out of deference to the prerogatives of Congress”); United States v. Bass, 404

 2   U.S. 226, 348 (1971) (“[B]ecause of the seriousness of criminal penalties, and because criminal

 3   punishment usually represents the moral condemnation of the community, legislatures and not courts

 4   should define criminal activity”). “The rule reflects . . . ‘the instinctive distaste against men languishing in

 5   prison unless the lawmaker has clearly said they should’.” United States v. R.L.C., 503 U.S. 291, 309

 6   (1992) (citations omitted).

 7            C. Section 242 Failed to Pr
                                       Provide
                                          ovide Shaw Fair Notice That His Alleged Conduct was
                 Conducted “Under Color of Law”
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 9                 1. The “T
                          “Totality
                            otality of the Cir
                                           Circumstances”
                                               cumstances” T
                                                           Test
                                                            est Employed by the Courts Is Inher
                                                                                          Inherently
                                                                                                ently
                      Vague
10

11      An essential element that the government must prove in a Section 242 prosecution is that the defendant

12   was acting “under color of law” in performing the alleged misconduct. See, e.g., United States v. Price,

13   383 U.S. 787, 793–94 (1966). The Supreme Court has described “under color of law” as a “loose and

14   vague phrase.” Adickes v. S. H. Kress & Co., 398 U.S. 144, 213 (1970). “One might classify [§ 242] as the

15   ultimately vague criminal statute.” Trs. of Indiana Univ. v. Curry, 918 F.3d 537, 542 (7th Cir. 2019).

16      “The traditional definition of acting under color of state law requires that the defendant . . . have

17   exercised power ‘possessed by virtue of state law and made possible only because the wrongdoer is

18   clothed with the authority of state law.’” West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v.

19   Classic, 313 U.S. 299, 326 (1941); see also id. at 49–50 (“It is firmly established that a defendant . . . acts

20   under color of state law when he abuses the position given to him by the State”). “[T]here is no bright line

21   test for distinguishing personal pursuits from activities taken under color of law.” Hoit v. Trans. Auth., 808

22   F. App'x 41, 46 (2d Cir. Mar. 30, 2020)) (quoting Pitchell v. Callan, 13 F.3d 545, 548 (2d Cir. 1994)).

23      Rather, the question of whether conduct is undertaken under “color of law” is an “intensely fact-

24   specific” inquiry, Parilla-Burgos v. Hernandez-Rivera, 108 F.3d 445, 449 (1st Cir. 1997), which involves

25   “a process of ‘sifting facts and weighing circumstances’ which must lead us to a correct determination.”

26   McDade v. West, 223 F.3d 1135, 1139 (9th Cir. 2000) (quoting Ouzts v. Maryland Nat’l Ins. Co., 505 F.2d

27   547, 550 (9th Cir. 1974)); see also Kile v. Betuel, 973 F.Supp. 1070, 1074 (S.D. Ga. 1997) (“A detailed

28   inquiry into the facts is required to determine whether, in a given situation, a police officer acts under



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 1   color of state law, or acts as a private individual”). Stated another way, the “color of law” inquiry is

 2   dependent upon the “totality of the circumstances,” Parilla-Burgos, at 449 (citing Martínez v. Colon, 54

 3   F.3d 980, 987 (1st Cir. 1995)), a test which has been described by the Supreme Court and other courts as

 4   inherently vague. See, e.g., Pfaff v. Wells Elecs., Inc., 525 U.S. 55, 66 & n.11 (1998) (determining that

 5   “totality of circumstances” test is vague and “seriously undermines the interest in certainty”) (citing Seal

 6   Flex, Inc. v. Athletic Track & Court Const., 98 F.3d 1318, 1323 n.2 (Fed. Cir. 1996)); Seal Flex, Inc., 98

 7   F.3d at 1323 n.2 (“The standard of the totality of the circumstances has been criticized as unnecessarily

 8   vague”) (citing The Advisory Commission on Patent Law Reform: A Report to the Secretary of Commerce

 9   (1992)); Smith v. Boyle, 144 F.3d 1060, 1063 (7th Cir. 1988) (referring to “totality of the circumstances”
10   test as a “notably vague standard”); Manuel v. Sutton, 2017 WL 8185851, at *5 (C.D. Cal. Dec. 11, 2017)

11   (“simply instructing the jury to consider the ‘totality of the circumstances’” “arguably [is] too vague to

12   provide guidance”) (quotation omitted). “Given the intensely fact-specific nature of the [color of law]

13   analysis . . . it [is] unremarkable that none of the cases cited by the plaintiffs are so factually similar to this

14   case as to persuade us to adopt the particular outcome the plaintiffs desire [that defendant was acting under

15   color of law].” Parilla-Burgos, at 450.

16                 2. Judicial Glosses on the Phrase “Under Color of Law” Do Not Pr
                                                                                 Provide
                                                                                    ovide Fair Notice
                      Either
17

18       In an attempt to give the phrase “under color of law” a fairly ascertainable meaning, the Supreme

19   Court held in United States v. Classic, 313 U.S. 299, which involved state election officials who allegedly

20   falsely counted and certified the ballots of voters cast in the Democratic primary congressional election,

21   id. at 308–09, that an individual acts “under color of law” only when he or she engages in “[m]isuse of

22   power, possessed by virtue of state law and made possible only because the wrongdoer is clothed with the

23   authority of law.” Id. at 325–26 (emphasis added) (citing Ex parte Virginia, 100 U.S. 339, 346 (1879);

24   Home Tel. & Tel. Co. v. Los Angeles, 227 U.S. 278, 287 (1913); Hague v. C.I.O., 307 U.S. 496, 507, 519

25   (1939)). The Court held in Classic that the defendants acted “under color of law” solely because their

26   actions “were committed in the course of their performance of duties under the Louisiana statute requiring

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 1   them to count the ballots, to record the result of the count, and to certify the result of the election.”

 2   Classic, at 325–26. The defendants’ malfeasance would not have been possible but for their official

 3   authority to count the ballots and certify the election. See id.

 4       Three years later, in Screws v. United States, 325 U.S. 91 (1944), the Supreme Court attempted to add

 5   further judicial gloss to the elusive phrase “under color of law.” Screws involved three law enforcement

 6   officers who arrested a black man and beat him to death, thereby violating his constitutional right not to be

 7   deprived of life without due process of law. Id. at 92–93. Emphasizing that the defendants “were officers

 8   of the law who made the arrest” and were authorized to do so under Georgia law, the Court held that the

 9   defendants acted “under color of law,” so their conduct came within the purview of the statute. Id. at
10   107–08. The Screws Court held its facts to be indistinguishable from those in Classic, since in both cases

11   the “officers of the State were performing official duties; in each the power which they were authorized to

12   exercise was misused.” Id. at 110. Screws held that “acts of officers in the ambit of their personal pursuits

13   are plainly” not conduct under color of law; however, “[a]cts of officers who undertake to perform their

14   official duties are included whether they hew to the line of their authority or overstep it.” Id. at 111; see

15   also United States v. Giordano, 260 F. Supp. 2d 477, 484 (D. Conn. 2002). Put another way, “under color

16   of law” means under “pretense” of law, and does not connote that the law actually authorizes the conduct.

17   Screws, at 111; Johnson v. Phillips, 664 F.3d 232, 239–40 (8th Cir. 2011) (“color of law” element satisfied

18   if “if the defendant acts or purports to act in the performance of official duties, even if he oversteps his

19   authority and misuses power”). The Supreme Court in Screws emphasized that “[w]e are not dealing here

20   with a case where an officer not authorized to act nevertheless takes action.” Screws, at 111.

21       Following Classic and Screws, courts have consistently held that an officer of the state acts “under

22   color of law” only where he engages in a “[m]issue of power, possessed by virtue of state law and made

23   possible only because the wrongdoer is clothed with the authority of law.” See, e.g., Johnson v. Knowles,

24   113 F.3d 1114, 1117 (9th Cir. 1997) (assemblyman’s actions in securing ouster of homosexual members of

25   county central committee of political party were not undertaken under color of state law where they were

26   not related to the performance of his duties as public official; the mere fact that the prestige of his office

27   may have enhanced his influence over committee was not enough to transform his actions into state

28   action); Townsend v. Moya, 291 F.3d 859, 861–62 (5th Cir. 2002) (corrections officers who cut inmate



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 1   while engaging in horseplay did not act under color of law); Hughes v. Halifax Cnty. Sch. Bd., 855 F.2d

 2   183, 186–87 (4th Cir. 1988) (county employees who hung noose on county property to harass plaintiff did

 3   not act under color of law); Sanchez v. California, 90 F.Supp.3d 1036, 1065–66 (E.D. Cal. 2015)

 4   (corrections officer who sexually harassed coworker did not act under color of law). “The acts of private

 5   parties who possess no power or authority under state law are not acts ‘under color of’ state law within the

 6   meaning of Section 242.” United States v. Cooney, 217 F.Supp. 417, 419 & 422 (D. Colo. 1963) (citing

 7   Screws, 325 U.S. at 111); see also Cassady v. Tackett, 938 F.2d 693, 695 (6th Cir. 1991) (defendant acted

 8   under color of state law because he had the authority to carry a gun in the jail only because he was the

 9   elected jailer of Johnson County); Giordano, 260 F. Supp. 2d at 485 (Mayor acted under color of law
10   when he sexually abused two minors; noting the sexual abuse of the minors was made possible only by

11   virtue of the defendant’s official position as Mayor, since he carried an official badge, drove an unmarked

12   police car, and used cellular telephones provided by the City to coerce and force the minors to engage in

13   sexual acts).

14      Two common themes run throughout these cases. First, in each of the cases, the defendants were

15   public officials with the authority to enforce the law; i.e., members of the executive branch. See Classic

16   (state election officials); Screws (law enforcement officers); Cooney (same); Giordano (Mayor). Second,

17   and relatedly, the defendants’ wrongful conduct was “made possible only because the wrongdoer [was]

18   clothed with the authority of law.” Classic, 313 U.S. at 325–26; see also Giordano, 260 F. Supp. 2d at 485.

19      This is because those authorized to enforce the law, such as the defendants in Classic; Screws; Cooney;

20   and Giordano, are necessarily “clothed with the authority of law” by virtue of their executive positions of

21   authority, and when they misuse that authority, prosecution under Section 242 is proper. Cf, e.g., Classic,

22   313 U.S. at 325–36; Screws, 325 U.S. at 109–11 (police used their authority to beat and arrest victim);

23   Cooney, 217 F. Supp. at 422 (defendant officers used their authority to enter and search victim’s home);

24   Giordano, 260 F. Supp. 2d at 484–85. However, by sharp contrast, “[m]ere employment by a state or

25   municipality does not automatically mean that a defendant's actions are taken under the color of state law.”

26   Kern v. City of Rochester, 93 F.3d 38, 43 (2d Cir. 1996) (citing Polk Cnty. v. Dodson, 454 U.S. 312,

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 1   319–20 (1981)); Johnson v. Knowles, 113 F.3d at 1117 (“[A]ll actions of a government official are not,

 2   simply by virtue of the official’s governmental employ, accomplished under the color of federal law”)

 3   (quoting Laxalt v. McClatchy, 622 F.Supp. 737, 746 (D. Nev. 1985)).

 4                  3. The Attributes of Conduct that Courts Have Held Constitute “Under Color of
                       Law” ar
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 6      Given the attributes of conduct that the courts have found to be “under color of law,” Shaw could not

 7   have had fair notice that he, as an athletic trainer, was so acting. Aside from the bare fact of Shaw’s

 8   employment by an agency of state government (a status he shares with approximately 4.6 million other

 9   U.S. residents, see Aubrey Watson, Bureau of Labor Statistics, Employment and Wages in State and Local
10   Government, https://www.bls.gov/spotlight/2021/occupational-employment-and-wages-in-state-and-local-

11   government/home.htm (last visited September 19, 2022)), none of the additional factors necessary to

12   transform his conduct into that conducted “under color of law” describe Shaw’s conduct as alleged in the

13   Information.

14      First, there is no allegation that Shaw told the victims that he had the authority to engage in the

15   illegitimate touchings alleged. Cf. United States v. Tarpley, 945 F.2d 806, 808 (5th Cir. 1991) (“At several

16   points during [the assault, defendant] claimed to have special authority for his actions by virtue of his

17   official status. He claimed that he could kill [victim] because he was an officer of the law”); Bennett v.

18   Pippin, 74 F.3d 578, 583 (5th Cir. 1996) (sheriff told the victim he could do as he pleased because he was

19   the sheriff; “explicit invocation of governmental authority constituted a real nexus between the duties of

20   the Sheriff and the rape”).

21      Second, Shaw did not display, nor could he have displayed, an official badge. Cf. Van Ort v. Estate of

22   Stanewich, 92 F.3d 831, 839–40 (9th Cir. 1996) (off-duty officer did not act under color of law when he

23   attempted to rob victims at their homes, in part because officer did not wear a badge); Tarpley, 945 F.2d at

24   808 (relying on display of badge to conclude that defendant acted under color of law); Giordano, 260 F.

25   Supp. 2d at 484–85 (relying on Mayor’s use of an official badge to find that he acted under color of law);

26   Abdi v. Lovell, 2009 WL 976503, at *5 (D. Ariz. Apr. 9, 2009) (drunken off-duty police officer displayed

27   badge and identified self as police officer); cf. Bonenberger v. Plymouth Twp., 132 F.3d 20, 24 (3d Cir.

28   1997) (“off-duty police officers who flash a badge or otherwise purport to exercise official authority



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 1   generally act under color of law”); Hughes v. Halifax Cnty. Sch. Bd., 855 F.2d at 186–87 (“The judges

 2   were figuratively and literally clothed in state power, and the officers were acting behind badges. Gregory

 3   and Lloyd were wearing, at best, county coveralls. The indicia of state authority just isn’t the same”).

 4      Third, there is no allegation that Shaw used his official position to detain the alleged victims, as it

 5   appears all of the alleged assaults took place in a training room open to SJSU athletes, trainers and other

 6   personnel, from which student-athletes easily could come and go as they pleased. Cf. Lee ex rel. Lee v.

 7   Borders, 764 F.3d 966, 969 (8th Cir. 2014) (kitchen worker, a state employee, exercised his authority over

 8   plaintiff, a conserved resident of the state-run home, by offering her food then dragging her to the

 9   restricted area of the kitchen where he could rape her; defendant “was in charge of the kitchen at the time,
10   so he controlled who entered it and remained there”); United States v. Colbert, 172 F.3d 592, 596 (8th Cir.

11   1999) (police officer assaulted inmate in a restricted area of the jail that he could only access because of

12   his position as a police officer). And the alleged victims here were not minors incapable of either actual or

13   apparent consent, but adults. Cf. Giordano, 260 F. Supp. 2d at 485 (sexual abuse of children under the age

14   of 12).

15      Fourth, there is no allegation that Shaw acted in concert with anyone in committing the acts alleged.

16   Compare White v. City of Greensboro, 532 F.Supp.3d 277, 310 (M.D.N.C. 2021) (defendant officer did

17   not act under color of law where he did not summon other officers for assistance in searching the victim’s

18   house); Galliano v. Borough of Seaside Heights, 2007 WL 979850, at *11 (D.N.J. March 30, 2007)

19   (holding that defendant did not act under color of law; “Lutes did not enlist the aid of any other officers as

20   did the deputy in Tarpley”) with Tarpley, 945 F.2d at 808 (relying on presence of second officer and

21   display of badge to conclude that defendant acted under color of law); Bustos v. Martini Club Inc., 599

22   F.3d 458, 469 (5th Cir. 2010) (“because ‘[t]he presence of police and the air of official authority pervaded

23   the entire incident,’ we concluded that [the defendant in Tarpley] acted under color of law”).

24      Because the gravamen of the “under color of law” inquiry is “whether the victim was intimidated by

25   the perpetrating officer’s official status,” see T.G. v. Bd. of Cnty. Comm’rs of Cnty. of Rio Arriba, 2020

26   WL 6075662, at *17 (D.N.M. Oct. 15, 2020)), courts consider whether the defendant’s conduct “had the

27   purpose and effect of influencing the behavior of others,” Anderson v. Warner, 451 F.3d 1063, 1069 (9th

28   Cir. 2006) (citing Van Ort v. Estate of Stanewich, 92 F.3d at 839–40. No such influence is alleged here,



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 1   and the factors ordinarily present for conduct to be held “under color of law” are absent. Compare

 2   Escalante v. City & Cnty. of Honolulu, 2018 WL 1748110, at *4 (D. Haw. Apr. 11, 2018) (off-duty officer

 3   did not act under color of law when he assaulted victim after traffic accident: “The Complaint clearly

 4   states that Duarte was off-duty at the time of the assault, and it includes no allegations whatsoever that he

 5   used, attempted to use, or pretended to use his status as a police officer -- let alone that any such action

 6   influenced Escalante or any witness”) (citing Anderson, at 1068–69)) with Vang v. Toyed, 944 F.2d 476,

 7   480 (9th Cir. 1991) (state employee acted under color of law when raping Hmong immigrants because

 8   victims were in “awe of government officials”).

 9            D. Because Shaw Held No Power Over the Alleged V
                                                             Victims,
                                                               ictims, He W
                                                                          Was
                                                                           as Not Afforded Fair
10               Notice that Section 242 Applied to Him

11      Where the power dynamic described by the courts in Classic, Screws, Cooney, and Giordano is absent,

12   so is the requisite coercive influence. Although the Ninth Circuit has not adopted a pattern jury instruction

13   for a violation of Section 242, sister Circuits’ pattern instructions require the government to prove that a

14   defendant abused or misused power he was granted over others as an official of the state. See Eleventh

15   Circuit Pattern Jury Instructions, Criminal Cases (2016 rev.), Instruction O8 (“[a]n unlawful act under

16   color of state law occurs when a person has power only because that person is an official, and that person

17   does acts that are a misuse or abuse of that power”); Tenth Circuit Criminal Pattern Jury Instructions (2021

18   ed.), Instruction 2.17 (“’Under color of law’ . . . . means that the defendant acted in his official capacity or

19   else claimed to do so, but abused or misused his power by going beyond the bounds of lawful authority”);

20   Eighth Circuit Model Jury Instructions (2021 ed.), Instruction 6.18.242 (same); see also supra at 7–8. But

21   Shaw had no such power at his disposal to misuse or abuse. He served as an athletic trainer and

22   administrator, to whom adult student-athletes went voluntarily (or decided not to) for physical therapy, and

23   therefore lacked any power to compel or even request student-athletes to submit to physical treatment; to

24   retaliate against them if they did not; or to affect such intangibles as scholarships, playing time, or grade

25   assignments.

26      Where the alleged criminal conduct was not “made possible only because the wrongdoer is clothed

27   with the authority of law,” Classic, 313 U.S. at 325–26, and therefore could just as easily have been

28   accomplished by a private actor, that conduct is not performed “under color of law” for purposes of



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 1   Section 242. See, e.g., Gritchen v. Collier, 254 F.3d 807, 814 (9th Cir. 2001) (officer who threatened to sue

 2   motorist during traffic stop did not act under color of law; “by threatening to sue (or suing) for defamation

 3   is no different from what any defamation plaintiff does when he or she threatens to sue”); Almand v.

 4   DeKalb Cnty., Georgia, 103 F.3d 1510, 1513 (11th Cir. 1997) (holding that defendant police officer did

 5   not act under color of law because “he was no different than any other ruffian”; “any thug or burglar could

 6   have committed the same violent acts”); Butler v. Sheriff of Palm Beach Cnty., 685 F.3d 1261, 1268 (11th

 7   Cir. 2012) (holding that correctional officer did not act under color of law when he allegedly beat plaintiff:

 8   “Any other angry parent with a firearm in the house could have done what [defendant] did”); see also

 9   Kern v. City of Rochester, 93 F.3d at 43 (holding that a defendant who sexually harassed and assaulted his

10   secretary did not do so under color of state law, even though the relevant events occurred in an office

11   where the defendant regularly conducted city business as a city employee). Here, the acts alleged could

12   just as easily have been committed by a private chiropractor, masseur or athletic trainer as by a state

13   employee.

14      Because of the absence of state power accorded by virtue of his employment, Shaw was not given

15   constitutionally adequate fair notice that he was acting “under color of law” for purposes of Section 242

16   simply by virtue of his employment with SJSU. ECF 1 ¶ 1; cf., e.g., Hoit v. Trans. Auth., 808 F. App'x at

17   46) (defendant mechanic did not act under color of law where he exercised no supervisory authority over

18   victim); Pitchell v. Callan, 13 F.3d 545, 548 (2d Cir. 1994) (finding off-duty police officer who, while

19   drunk in his own home used his own personal weapon to shoot a guest, did not act under color of state law,

20   since he did not invoke the authority of the police department); Delcambre v. Delcambre, 635 F.2d 407,

21   408 (5th Cir. 1981) (holding that assault by on-duty police chief at police station was not under color of

22   law because the altercation arose out of a personal dispute; the defendant neither arrested not threatened to

23   arrest the plaintiff). Shaw had no way of predicting that his mere employment at a state university would

24   subject him to federal criminal sanctions under Section 242, and certainly not in a way that “the common

25   world will understand, of what the law intends to do if a certain line is passed.” McBoyle, 283 U.S. at 27.

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 1              E. The Government’
                       Government’ss Novel Construction of Section 242

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        The Supreme Court has declared that “a criminal conviction ought not to rest upon an interpretation
 3
     reached by the use of policy judgments rather than by the inexorable command of relevant language.” See
 4
     M. Kraus & Bros., Inc. v. United States, 327 U.S. 614, 626 (1945); United States v. Nichols, 784 F.3d 666,
 5
     668 (10th Cir. 2015) (Gorsuch, J., dissenting from the denial of rehearing en banc) (“[i]f the separation of
 6
     powers means anything, it must mean that the prosecutor isn’t allowed to define the crimes he gets to
 7
     enforce”); see also Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 140 S.Ct. 789, 790
 8
     (2020) (denial of petition for writ of certiorari) (statement of Gorsuch, J.) (“[o]nly the people’s elected
 9
     representatives in the legislature are authorized to ‘make an act a crime’”).
10
        Underscoring the shifting sands of the government’s position, the Department’s own policy materials
11
     note that proper defendants under Section 242 act under color of law only “when they wield power vested
12
     by a government entity. Those prosecuted under the statute typically include police officers, sheriff’s
13
     deputies, and prison guards. However, other government actors, such as judges, district attorneys, and
14
     other public officials, can also act under color of law and can be prosecuted under this statute.” Statutes
15
     Enforced By The Criminal Section, U.S. Dep't Of Just., https://www.justice.gov/crt/statutes-enforced-
16
     criminal-section (last updated August 31, 2022) (emphasis added); see also Fara Gold, Investigating and
17
     Prosecuting Sexual Misconduct Committed by Law Enforcement, 35 ABA Criminal Justice (Winter 2021)
18
     10, 11 (“The actions of police officers, tribal officers, corrections officers, probation officers, judges,
19
     prosecutors, prisoner transport officers and other public officials may all fall under the ambit of 18 U.S.C.
20
     § 242”).
21
        In recent years, the Supreme Court has consistently warned the government about prosecutions based
22
     upon overly expansive constructions of criminal statutes. In Bond v. United States, 572 U.S. 844 (2014),
23
     for example, the government prosecuted a wife who attempted to use toxic chemicals against her
24
     husband’s lover under the Chemical Weapons Convention Implementation Act of 1998. Id. at 848,
25
     852–54. The Supreme Court unanimously held that the statute at issue was not meant to apply to Bond’s
26
     conduct -- an act of romantic jealous revenge -- and that it was “incumbent upon the federal courts to be
27
     certain of Congress’ intent” to “assure[] that the legislature has in fact faced, and intended to bring into
28
     issue, the critical matters involved in the judicial decision.” Id. at 858–60 (citations omitted); see also id.


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 1   at 871–72 (Scalia, J., concurring in judgment) (criminal statutes must be interpreted with a “realistic

 2   assessment [] of congressional intent”). Similarly, in a unanimous decision in Kelly v. United States, 140

 3   S.Ct. 1565 (2020), the Supreme Court reversed convictions arising out of the “Bridgegate” scandal,

 4   finding that the government’s interpretation of the federal fraud statutes at issue threatened a “sweeping

 5   expansion of federal criminal jurisdiction.” Id. at 1574 (quoting Cleveland v. United States, 531 U.S. 12,

 6   24 (2000)).

 7      Indeed, the Supreme Court has become increasingly vocal against executive slight-of-hand in federal

 8   criminal prosecutions. As Justice Gorsuch pointedly noted in a recent statement accompanying the denial

 9   of a petition for a writ of certiorari, the Supreme Court has “never held that the Government’s reading of a
10   criminal statute is entitled to any deference.” Guedes, 140 S.Ct. at 790 (statement of Gorsuch, J.) (quoting

11   United States v. Apel, 571 U.S. 359, 369 (2014)). When “[t]he law hasn’t changed, only an agency’s

12   interpretation of it,” courts need not defer to “bureaucratic pirouetting.” Id. at 790–91.

13      The government’s tin ear to the Supreme Court’s rebukes has ensured that its unilateral attempts to

14   expand the scope of criminal statutes have become a staple of the Supreme Court’s docket, as well as the

15   subject of regular commentary from the Justices. These cases stand out both for their impact and their

16   unusual presence on the Supreme Court’s very limited docket, since such cases often do not fit the

17   traditional mold of either arising out of a split of authority among the circuit courts of appeal or presenting

18   a holding that is contrary to established Supreme Court precedent. See U.S. Supreme Court Rule 10. There

19   has been good reason for the Court to grant review in such cases, however, since these prosecutions

20   present serious due process notice concerns; risk opening the floodgates to more prosecutions of the same

21   ilk; and give prosecutors overwhelming leverage at the negotiating table.

22      Thus, as illustrated by the instant prosecution, the government is seizing upon the vagueness of Section

23   242 to create a whole new category of federal criminal offenses never before countenanced by Congress or

24   the courts. “The Ninth Circuit has noted [that] ‘[w]hether a government employee is acting under color of

25   law is not always an easy call, especially when the conduct is novel.’” Mallar v. City of Adelanto, 2013

26   WL 8148647, at *5 (C.D. Cal. July 24, 2013) (quoting Gritchen v. Collier, 254 F.3d at 814). Here, the

27   government has seized upon the vagueness of Section 242, and its inherently subjective “totality of the

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 1   circumstances” test for “under color of law,” to expand the statute’s scope to reach conduct that Congress

 2   never intended to fall within its ambit, and that people of ordinary intelligence would not know lies within

 3   its reach.

 4       Such a sweeping expansion of federal jurisdiction to criminalize sexual misconduct between adults in

 5   the workplace, a role traditionally left to the states, underscores the unconstitutional vagueness of Section

 6   242. Cf. Guinther v. Wilkinson, 679 F.Supp. 1066, 1071 (D. Utah 1988) (statute defining “sexual activity”

 7   for purposes of prostitution offense is vague because it “is susceptible to mischievous subjective

 8   application”); cf. Van Buren v. United States, 141 S.Ct. 1648, 1661 (2021) (“[T]he Government’s

 9   interpretation of the [Computer Fraud and Abuse Act] would attach criminal penalties to a breathtaking
10   amount of commonplace computer activity”); Kelly v. United States, 140 S.Ct. at 1574 (reversing

11   conviction for wire fraud; held, “not every corrupt act by state or local officials is a federal crime” and to

12   do so there would be a “sweeping expansion of federal criminal jurisdiction”) (quoting Cleveland v.

13   United States, 531 U.S. at 24); McDonnell v. United States, 579 U.S. 550, 567–77 (2016) (narrowly

14   interpreting “official act” in federal bribery statutes and expressing concerns about overbroad readings of

15   criminal laws); see also Skilling v. United States, 561 U.S. 358, 411 (2010) (“honest-services fraud does

16   not encompass conduct more wide ranging than the paradigmatic cases of bribes and kickbacks, we resist

17   the Government’s less constrained construction absent Congress’ clear instruction otherwise”); United

18   States v. Aguilar, 515 U.S. at 600 (“We have traditionally exercised restraint in assessing the reach of a

19   federal criminal statute”).

20       Moreover, the government’s construction of Section 242 would open the floodgates that lead to this

21   Court. The substantive Due Process Clause’s right to bodily integrity protects against not only sexual but

22   “serious physical assaults.” Wudtke v. Davel, 128 F.3d 1057, 1063 (7th Cir. 1997).) There are

23   approximately 4.6 million employees of state government in the United States, supra at 10, each of whom,

24   under the government’s theory, has a duty to act "in compliance with the United States Constitution.” As

25   such, under the government’s view as expressed in the Information, each of those employees could be

26   haled before this Court if they commit any sexual or “serious physical” assaults on any other person -- or

27   not -- depending on the Department’s exercise of its considerable discretion. Certainly that is the

28   government’s planned travel route. See Fara Gold, Investigating and Prosecuting Law Enforcement Sexual



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 1   Misconduct Cases, United States Attorneys’ Bulletin (Jan. 2018) at 78 (seeking to “spread[] the word” and

 2   “increase awareness of [the Department’s] jurisdiction, one case at a time” of its authority to prosecute any

 3   state employee who engages in sexual misconduct under § 242).

 4      Indeed, commentators have opined upon the need for Congress to amend Section 242 to more

 5   precisely define its scope and to provide adequate due process notice as to what conduct the statute

 6   prohibits. See, e.g., Taryn A. Merkl, Protecting Against Police Brutality and Official Misconduct: A New

 7   Federal Criminal Civil Rights Framework, Brennan Center for Justice at New York University School of

 8   Law (April 29, 2021) at 5 (noting § 242 “does not make clear to public officials . . . what actions they

 9   cannot take” (emphasis in original) and decrying the statute’s “vague and expansive framing and resulting

10   lack of clarity about what conduct is illegal”); see also id. at 7 (“Because § 242 and § 1983 essentially

11   cross-reference the entire body of rights protected or guaranteed by the Constitution and laws of the

12   United States, the protection is so broad that it is difficult to enforce in a manner consistent with due

13   process, making courts hesitant to interpret those rights broadly”); see also Screws, 325 U.S. at 105 (“[I]f

14   Congress desires to give [§ 242] wider scope, it may find ways of doing so”).

15      Still, no such Congressional broadening or clarification of the statute has been forthcoming. A recent

16   bill that passed the House, but stalled in the Senate, would have amended the criminal intent required for

17   conviction under Section 242 from the “willfully” standard set by the Screws Court and its 75-plus years

18   of progeny to a “knowingly or recklessly” standard, and would have specifically prohibited and defined

19   “sexual acts under color of law.” George Floyd Justice in Policing Act of 2021 (H.R. 1280, 117th Cong.

20   (2021); see id. at §§ 101, 402, 403. The text of Section 242 has indeed remained essentially unchanged

21   since the term “willful” was added to make the section “less severe” in 1909. See Screws, 325 U.S. at 100,

22   citing Criminal Code of 1909, 35 Stat. 1092; 43 Cong. Rec., 60th Cong., 2d Sess., p. 3599. Thus, as

23   applied to Shaw, the statute remains unconstitutionally vague.

24             F. The Novelty of this Pr
                                      Prosecution
                                         osecution Underscor
                                                   Underscores
                                                             es Section 242’
                                                                        242’ss Susceptibility to Arbitrary
                  Enfor
                  Enforcement
                        cement
25

26      In addition to precluding the judicial branch’s punishment of persons who were deprived of fair notice

27   that their conduct was proscribed, due process “guards against arbitrary or discriminatory law enforcement

28   by insisting that a statute provide standards to govern the actions of police officers, prosecutors, juries, and



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 1   judges.” Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018); see also Kolender v. Lawson, 461 U.S. 352,

 2   358 (1983) (“The more important part of the vagueness doctrine is not actual notice, but the other

 3   principal element of the doctrine -- the requirement that a legislature establish minimal guidelines to

 4   govern law enforcement”). This principle “is a corollary of the separation of powers -- requiring that

 5   Congress, rather than the executive . . . . define what conduct is sanctionable and what is not.” Sessions, at

 6   1212.

 7      As noted supra, the government has brought what appears to be the first-ever prosecution under

 8   Section 242 against a public employee where the alleged victims were adults; consented at the time to the

 9   acts comprising the alleged deprivation of their civil rights; were under no obligation, legal or otherwise,

10   to submit to any physical contact with the defendant; and were not subject to the custody, control or

11   influence of the defendant. And this case appears to be the tip of the spear -- the Department’s prosecutor

12   in this action has made clear an intention to expand the reach of Section 242 via executive fiat to cover a

13   broader array of sexual misconduct cases. See Fara Gold, Investigating and Prosecuting Sexual

14   Misconduct Committed by Law Enforcement, 35 ABA Criminal Justice (Winter 2021) (arguing for more

15   robust investigation of sexual misconduct offenses under § 242 and for expansion of federal jurisdiction

16   over such cases).

17      Based upon the foregoing, this Court should dismiss the Information for failure to state a claim under

18   Fed. R. Crim. P. 12(b)(3)(B)(v).

19
                                   MOTION FOR A BILL OF P
                                                        PAR
                                                         ARTICULARS
                                                            TICULARS
20

21      In the alternative, Defendant Scott Shaw respectfully moves this Court, pursuant to Federal Rule of

22   Criminal Procedure 7(f), to direct the government to supply the following particulars in reference to the

23   Information filed in the above-entitled case:

24      1. As to Counts One through Six, inclusive, to specify how it intends to prove at trial that Mr. Shaw

25   acted “under color of law.”

26      2. As to Counts One through Six, inclusive, to specify whether and how it intends to prove at trial that

27   the acts alleged were “without [each victim’s] consent”; specifically, whether it intend to prove at trial that

28



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 1   the alleged victims: (a) lacked capacity to consent; (b) expressed any lack of consent, explicitly or

 2   implicitly, to Shaw; and/or (c) did not consent based upon a failure of “informed consent” to the touchings

 3   alleged.

 4      3. As to Counts One through Six, inclusive, to specify whether and how it intends to prove at trial that

 5   the acts alleged were committed “without a legitimate purpose.”

 6      4. As to Counts One through Six, inclusive, to specify where the acts charged are alleged to have taken

 7   place; specifically: (a) whether they took place in an area closed or restricted to the general public or the

 8   student population at SJSU; (b) whether they took place in an area from which the alleged victims were

 9   restrained in any way from leaving; and (c) whether they took place on the grounds of SJSU, or elsewhere.

10
                MEMORANDUM IN SUPPOR
                              SUPPORTT OF MOTION FOR A BILL OF PARTICULARS
                                                               PAR TICULARS
11

12      Federal Rule of Criminal Procedure 7(c)(1) requires that an Information contain “a plain, concise, and

13   definite written statement of the essential facts constituting the offense charged.” Federal Rule of Criminal

14   Procedure 7(f) provides that the Court may direct the filing of a bill of particulars upon motion by the

15   defendant. The purpose of a bill of particulars is to apprise the defendant of the nature of the charges in

16   such a way as to ensure that he: (1) understands the charges; (2) can prepare a defense; (3) can avoid

17   prejudicial surprise at trial; and (4) can possibly be protected against retrial for the same offense. United

18   States v. Butler, 822 F.2d 1191 (D.C. Cir. 1987).

19      “The proper office of a bill of particulars in criminal cases is to furnish to the defendant further

20   information respecting the charge stated in the indictment when necessary to the preparation of his

21   defense, and to avoid prejudicial surprise at the trial,” and when necessary for those purposes is to be

22   granted even where it requires “the furnishing of information which in other circumstances would not be

23   required because evidentiary in nature,” and an accused is entitled to it “as of right.” United States v. U.S.

24   Gypsum Co., 37 F.Supp. 398, 402–403 (D.D.C. 1941). “[W]here the definition of an offence, whether it be

25   at common law or by statute, ‘includes generic terms, it is not sufficient that the indictment shall charge

26   the offence in the same generic terms as in the definition; but it must state the species, -- it must descend

27   to particulars.’” Russell v. United States, 369 U.S. 749, 765 (1962) (quoting United States v. Cruikshank,

28   92 U.S. 542, 558 (1875)).



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 1       Thus, although “an indictment parroting the language of a federal criminal statute is often sufficient,

 2   there are crimes that must be charged with greater specificity.” United States v. Resendiz-Ponce, 549 U.S.

 3   102, 109 (2007); see also Russell, 369 U.S. at 765 (“An indictment not framed to apprise the defendant

 4   ‘with reasonable certainty, of the nature of the accusation against him . . . is defective, although it may

 5   follow the language of the statute’”) (quoting United States v. Simmons, 96 U.S. 360, 362 (1877)). Section

 6   242, the “ultimately vague criminal statute,” Trs. of Indiana Univ. v. Curry, 918 F.3d at 542, is such a

 7   statute.

 8       Here, the Information alleges that Shaw was the Head Athletic Trainer and Director of Sports

 9   Medicine at SJSU, a public university. ECF 1 ¶¶ 1, 2. He is alleged to have been required to “act in

10   compliance with the United States Constitution” solely by virtue of being employed by SJSU. ECF 1 ¶ 3.

11   Each Count charges Shaw with “while acting under the color of law, and acting without a legitimate

12   purpose, touch[ing]” each named victim in a specified intimate area “without her consent, thereby

13   depriving [each named victim] of liberty without due process of law, which includes the right to bodily

14   integrity, a right secured by the Constitution and laws of the United States.” ECF 1 ¶¶ 5–10.

15
                A. “Under Color of Law”
16

17       As discussed supra, the Information alleges that Shaw acted under “color of law” simply by virtue of

18   his employment with a state university, yet it is clear that the bare fact of a person’s employment by a state

19   agency does not suffice for a violation of Section 242. See, e.g., Kern v. City of Rochester, 93 F.3d at 43

20   (citing Polk Cnty. v. Dodson, 454 U.S. at 319–20). The determining factor of whether a government

21   official was acting under color of law is generally “whether there [was] a nexus between the victim, the

22   improper conduct and [the defendant’s] performance of official duties.” United States v. Dillon, 532 F.3d

23   379, 385–386 (5th Cir. 2008).

24       Moreover, Shaw apparently held two positions during the time periods alleged in the Information; he

25   was both Head Athletic Trainer and Director of Sports Medicine at SJSU. ECF 1 ¶ 1. The Information

26   provides the defense no notice as to in which capacity Shaw allegedly acted “under color of law”; what

27   “official duties” he held based upon his employment in either position; nor does it alleged any facts

28



                                                           18
               Case 5:22-cr-00105-BLF Document 31 Filed 09/26/22 Page 27 of 29


 1   suggesting a nexus between the performance of such duties and the allegedly criminal touchings. These

 2   omissions require the defense to guess what “power” Shaw “possessed by virtue of state law” over the

 3   named victims, with no established precedent to serve as a guide.

 4
              B. “W
                 “Without
                    ithout [] Consent”
 5
        The government’s discovery in this matter is replete with statements and opinions that speak to the
 6
     question of whether Shaw failed to obtain from the student-athletes involved what is generally known as
 7
     “informed consent.” As an example, an expert witness on athletic training whom the defense anticipates
 8
     the government will call at trial has stressed to the government the importance of verbal or written consent
 9
     before a trainer treats an athlete; the importance of having a “chaperone” during physical contact between
10
     a trainer and athlete of different genders; that having a male trainer massage a female athlete for shoulder
11
     pain would be “highly unusual and suspicious”; and that draping an athlete during treatment would be
12
     “standard practice.”
13
        In order to properly prepare a defense, Shaw is entitled to know whether and how the government
14
     plans to demonstrate at trial that the treatments involved were undertaken without the alleged victims’
15
     consent; that is, whether such proof will be provided by verbal or nonverbal expressions by the victims of
16
     their lack of consent; by Shaw’s failure to properly explain the procedures to the student-athletes; and/or
17
     by Shaw’s failure to adhere to certain putative professional “best practices” like draping and chaperoning.
18

19            C. “W
                 “Without
                    ithout a Legitimate Purpose”

20      The Information makes no attempt to provide any definition of the vague non-statutory term “no
21   legitimate purpose.” The government would certainly concede that one of the mandatory duties of an
22   athletic trainer at a university is to touch student-athletes’ bodies, but makes no attempt to distinguish
23   between “legitimate” and “illegitimate” touchings in the Information, nor to provide any definition as to
24   how those illegitimate touchings would have deprived the named victims of their civil rights. If the
25   government believes it can prosecute Shaw for a violation of a clearly defined federal sex offense statute,
26   with clear statutory definitions, it should do so; if not, the defense is entitled to know how the government
27   intends to delineate the border between the “legitimate” touchings he was employed to do and the
28   “illegitimate” touchings which constitute this prosecution.



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 1            D. Location of Offenses Alleged

 2      Lastly, the Information provides no details that would guide the defense in determining where the
 3   alleged touchings took place. While this may not usually be an essential element of pleading, if in the
 4   instant case Shaw’s alleged actions took place on the grounds of SJSU, or in a secured location accessible
 5   only to him, that would be a factor that a jury could consider in determining whether Shaw acted under
 6   color of law. See Lee ex rel. Lee v. Borders, 764 F.3d at 969; United States v. Colbert, 172 F.3d at 596.
 7
                                                   CONCLUSION
 8

 9      For all of the foregoing reasons, defendant Scott Shaw respectfully requests that this Court dismiss the
10   Information for failure to state an offense pursuant to Fed. R. Crim. P. 12(b)(3)(B)(v) or, in the alternative,
11   order the government to supply the defense with a bill of particulars sufficient to identify the facts that it
12   believes bring Mr. Shaw’s conduct within the proper ambit of Section 242.
13

14

15

16   Dated: September 26, 2022                              Respectfully submitted,

17                                                          By:    /s/ Sam J. Polverino

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                                                          SERVICE
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 2

 3      I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the United

 4   States District Court for the Northern District of California by using the CM/ECF system on September

 5   26, 2022. I further certify that all participants in the case are registered CM/ECF users and that service will

 6   be accomplished by the CM/ECF system

 7      I certify under penalty of perjury that the foregoing is true and correct.

 8

 9
     Dated: September 26, 2022                              By:    /s/ Jeremy D. Blank
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